       Case 1:93-cv-00655-DAT          Document 842       Filed 05/19/25      Page 1 of 1




           In the United States Court of Federal Claims
                                          No. 93-655C
                                      Filed: May 19, 2025


 ANAHEIM GARDENS, et al.,

                    Plaintiffs,

 v.

 THE UNITED STATES,

                    Defendant.


                                            ORDER

       On March 6, 2025, Second-Wave Plaintiffs (“SWPs”) filed a Motion to Stay
Proceedings, (ECF No. 821), pending the Court’s decision on First Wave Plaintiffs’ (“FWPs”)
Motion for Reconsideration, (ECF No. 818), and any future appeal by the FWPs. The Motion is
unopposed.

        At the hearing on the SWPs’ Motion to Stay, counsel for both parties offered convincing
arguments. (See April 24, 2025 Hearing Transcript (“Hr’g Tr.”), ECF No. 838). As both sides
well know, this Court is loath to prolong this decades-long matter. Nevertheless, the trial for
SWPs currently scheduled to commence on August 11, 2025, is CONTINUED GENERALLY
pending further orders. The SWPs’ Motion to Stay remains under submission. This decision is
premised in no small part on representations made by the parties. (Hr’g Tr., 93:5–12, 79:4–15
(SWPs and Defendant confirming that fact discovery has concluded completely)). The pre-trial
scheduling Order, (ECF No. 835), is VACATED. The continuance granted by this Order does
not extend to pending Motions for Summary Judgment, (ECF Nos. 833, 834), and parties shall
proceed with the briefing schedule previously established. The Court notes that the status of
Plaintiff Thetford Properties IV, L.P. (“Thetford IV”) remains outstanding. (See Hr’g Tr.,
100:23–101:20). On April 24, 2025, the Court discussed holding a telephonic hearing on the
status of Thetford IV. (Id.). The Court anticipates setting a date for this hearing in the coming
weeks, at which the parties should be prepared to discuss Plaintiff Thetford IV.

       IT IS SO ORDERED.

                                                                    s/  David A. Tapp
                                                                    DAVID A. TAPP, Judge
